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THE UNITED sTATEs DISTRICT CoURT FoR 1;,/ ` 3
fritz WESTERN DIsTRIC'r AT TENNEssEE ptl 3" 31,
WEsTERN DIvIsIoN
r , if v r' §§
UNITED sTATEs oF AMERICA,
Plaintiff,
vs. CR. No. 04 20100-M1>v
Qm“
DA_REN MACLIN, MOT.ION GHANTED _… ___ __ __
M*tn 3'-°;1¢.\ 1 JON l"HI§ fP"; 31<;£‘ '\`:.:J
Defendant. Jd{`/ 51 1095 °T "°°€""‘ U S{ DISTRI(T ibm li

 

MOTION TO CONTTNUE SENTENCTNG DATE

 

Comes now the defendant, by and through counsel, Bil] Anderson Jr., and moves the court
to continue the Sentencing date for the Defendant currently scheduled for May 9, 2005.

ln support of said motion, counsel would respectfully show unto the court that he is
currently set to try another matter in a court of the Honorable Bemice Donald starting on May 9"‘
at 9:00 a.m. further, there is a witness that the defense Would like to call in the Sentencing hearing
who has a conflict and can not appear on the current sentencing date of May 9, 2005. The
Defendant would respectfully requests that the sentencing date be continued for approximately
thirty (3 0) days so as to allow the Defendant to have his witnesses available and be prepared to
conclude this matter.

The representative for the United States, Assistant United States Attorney Steve Parker,

joins in this motion and has no objection to the continuance

die

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Respectiillly Subrnitted;

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,.<.)M/MA)/
an,L ANDERSON?F§. #10363
l42 North Third, 3’d. Floor
Meinphis, Tennessee 38103

(QOl) 527-652}

CERTH"ICAI`E OF- SERVICE
l certify that a copy ofthe foregoing document has been fumished to the Assistant United

States 1thtorney, Steve Parker at 167 North Main Street, R_oom 800, Memphis, Tennessee 38103

/[/.
on this the ____»_‘? day of___“£_/é~¢ ___MM_M__ 2905.

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Hll!;,l_J it_l‘~ll.`ii“;`R_SON, JR.,
,»5ttto':~ney for Defendant

icb

   

UNITED `SATESDTISRICT COURT - W"'RNTE D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 183 in
case 2:04-CR-20100 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Williarn C. Anderson
ANDERSON LAW FIRM
142 North Third St.
l\/lemphis7 TN 38103

Honorable .lon l\/lcCalla
US DISTRICT COURT

